Case 2:05-cr-80231-PJD-VMM ECF No. 222, PageID.593 Filed 10/07/09 Page 1 of 1
Local MIE Form IA
(7/02)


                                Order of the Court to Continue Supervision

                                UNITED STATES DISTRICT COURT

                                                  for the

                                      Eastern District of Michigan

UNITED STATES OF AMERICA

                    v.
 Darren Riggs (true name: Stigger)                                        Crim. No.05-CR-80231-07

        On June 11, 2009, the Court authorized the issuance of a probation/supervised release
warrant/summons based upon a violation petition citing violation(s) ofsupervision. The issue(s) of
the violation(s) was/were heard in Court on September 24, 2009 and the Court made the following
finding(s):

         V'          Guilty ofviolating condition(s) ofsupervision. The following special condition(s)
                     of supervision is/are added.

                     The offender's probation was extended for one year until September 19,2010.

                     The offender was instructed to complete the remaining 180 hours of community
                     service within six months.




                                                          atricIa
                                                         Senior United States Probation Officer
                                                         (313) 234-5270


                                       ORDER OF THE COURT

         Pursuant to the above, it is ordered that the pending violation matter be resolved
         and supervision in this case be continued. All conditions imposed at the time of
         sentencing, along with any subsequent modifications to those conditions, remain
         in effect.
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                          Dated this _'_ Day of _ _--=--=__, 20 _. /

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                                                            r
                                                  Patrick Duggan
                                                  United States District Judge
